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In re: Frost, Nicholas and Emily                                              Case No.




 x




         x




Signature of debtor 1                                           Date
                                                                Thursday, September 24, 2020



 x




Signature of debtor 2                                           Date
                                                                Thursday, September 24, 2020
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